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 ATTORNEY FOR DEBTOR

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 IN RE:                                                       §
                                                              §
 2999TC ACQUISITIONS, LLC,                                    §              CASE NO. 21-31954-hdh11
                                                              §
           DEBTOR.                                            §              CHAPTER 11


                                   DEBTOR’S OPPOSITION TO MOTION
                                     TO ENFORCE AGREED ORDERS

 TO THE HONORABLE UNITED STATES BANKRUPTCY COURT:

           COMES NOW 2999TC Acquisitions, LLC, Debtor in the above styled and numbered case

 (“Debtor”), and files this Debtor’s Opposition1 to Motion to Enforce Agreed Orders filed by

 HNGH Turtle Creek, LLC (“HNGH”) ([Doc. No. 134] the “Motion”), and in support would show

 the Court the following:2

                                                   INTRODUCTION

            1.       The Debtor and HNGH, the parties to this dispute (“Parties”), came to a settlement

     which included a closing on a the hotly contested matters involving the ownership of 2999 Turtle


 1
       This Opposition is respectfully submitted expressly subject to, and without waiver of, any and all positions,
       objections, challenges, rights, and remedies in any and all tribunals.

 2
       The Court is requested to take judicial notice of the course of proceedings in this matter, including all of the Court
       Orders under Fed. Rule Evid.. 201. The Court is requested to admit and consider as evidence all of the attached
       and proven-up documentary and declaration proof submitted with this Opposition.




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  Creek, Dallas, Texas (the “Property”) which was to occur on May 30, 2022 (and by agreement as

  to certain terms extended to May 31, 2022 due to the holiday on May 30, 2022). Despite months

  of back-and-forth between the Parties prior to the deadline, HNGH failed to timely deliver the

  “necessary and important documents” needed to transfer clear title to the Property. Because these

  conditions precedent were not met, Debtor could not proceed with the transfer of funds to HNGH.

  Despite HNGH’s breach, it has now, in its Motion, baselessly and unmeritoriously accused Debtor

  of failing to perform. The irony of that accusation is that, though prepared to do so, Debtor could

  not complete its only obligation (to pay money) because HNGH first failed to meet its obligations

  to trigger the funding obligation. HNGH’s failures are more particularly described herein.

                                     RELEVANT BACKGROUND

         2.       The primary dispute between the Debtor and the HNGH Parties involves ownership

 of the Property, which Debtor acquired on September 19, 2019 with the intent of developing a

 luxury hotel and branded residential project.

         3.       As part of the closing on the acquisition of the Property, Debtor obtained a loan and

 executed Deed of Trust, Security Agreement and Fixture Filing (the “Deed of Trust”) as well as

 an Assignment of Leases and Rents (“Assignment of Leases”) for the benefit of 2999 Turtle Creek,

 LLC (the “Original Lender” and not to be confused with the Debtor), as well as a Secured

 Promissory Note (the “Note”) in favor of the Original Lender, and other related documents

 (collectively, the “Loan”). The Loan was personally guaranteed by Mr. Timothy Barton, President

 of the Debtor.

         4.       Upon information and belief, on or about January 24, 2020, HNGH reportedly

 acquired a “junior participation interest” in a minority percentage of the Loan through a

 participation agreement between the Original Lender and HNGH. It is Debtor’s firm belief – born



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 out by HNGH’s actions – that HNGH got involved in this project for the express purpose of

 predatorily seizing ownership of the Property from Debtor by any means necessary.

         5.      Debtor filed its voluntary petition commencing this Chapter 11 bankruptcy case on

 October 29, 2021.

         6.      Unbeknownst to the Debtor, on or about December 7, 2021, HNGH reportedly

 acquired all remaining interest in the Loan from the Original Lender.

         7.      The next day, December 8, 2021, HNGH recorded an Assignment of the Deed of

 Trust and Assignment of Leases and Rents in the property records of Dallas County, Texas. HNGH

 did so by taking out a separate loan from Happy State Bank (“HSB”). HNGH collaterally assigned

 the Deed of Trust and loan documents to HSB and endorsed and delivered the Original Note as

 collateral. HNGH’s deal with HSB was finalized on December 3, 2021 – 5 days before HNGH

 actually acquired the remaining interests in the Loan.

         8.      It is understandable that HNGH would want to obtain the Property. The Property is

 worth approximately $80,000,000. The debt to HNGH is approximately $40,000,000. This isn’t a

 number pulled out of the air by the Debtor. The Debtor has appraisals by third parties and

 commitments from lenders that establish the values of the Property.

         9.      Immediately after the filing of the bankruptcy case, the Debtor filed an adversary

 proceeding against HNGH Turtle Creek, LLC (“HNGH”), Vipin Nambiar, and HN Green Hollow

 Capital Partners, LLC (collectively, the “HNGH Parties”) (Adversary Proceeding No. 21-03085

 herein).

         10.     Despite these disputes, throughout the pendency of this case and notwithstanding

 HNGH’s complaints regarding delays, the Debtor has well compensated HNGH for any such

 delays. To date, Debtor has paid to HNGH over $8.5 million pursuant to its various agreements



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 with HNGH (excluding payments made in 2019 and 2020, yet the original loan amount which was

 $32,500,000 has increased to over $40,000,000), such payments described as followsi:

    Payment                              Description (Forbearance Agreement & BK Agreed
                            Amount
      Date                               Order)
  1/5/21                $100,000.00 Consideration Payment / Interest
  2/2/21                $100,000.00 Consideration Payment / Interest
  3/1/21                $100,000.00 Consideration Payment / Interest
  3/18/21                $35,000.00 Legal Fees
  4/12/21                $50,000.00 Consideration Payment / Interest
  4/14/21                $50,000.00 Consideration Payment / Interest
  5/10/21                $50,000.00 Consideration Payment / Interest
  5/10/21                $50,000.00 Consideration Payment / Interest
  5/31/21               $337,827.55 Dallas County Tax Office (Property Taxes)
  6/1/21                 $50,000.00 Consideration Payment / Interest
  6/4/21                 $50,000.00 Consideration Payment / Interest
  7/1/21                $100,000.00 Consideration Payment / Interest
  7/30/21               $744,422.00 Remaining Interest Reserve
  7/30/21               $784,074.00 Extension Deposit (applied to interest)
  2/28/22               $409,284.32 Dallas County Tax Office (Property Taxes)
  12/14/21              $500,000.00 Consideration Payment
  12/31/21              $500,000.00 Consideration Payment
  1/14/22               $500,000.00 Consideration Payment
  2/1/22                $500,000.00 Consideration Payment
  3/1/22                $500,000.00 Consideration Payment
  3/15/22             $1,000,000.00 Agreed Order (towards Allowed Claim of $2M)
                                         Agreed Order ($1M remainder of allowed claim: $2.5M
  3/25/22             $2,500,000.00
                                         towards payoff)
  TOTAL               $9,010,607.87


         11.     Multiple disputes and claims have been asserted by and between the HNGH Parties

 and the Debtor, leading to protracted litigation in this court. These disputes primarily revolved


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 around a deed in lieu to the Property, which was delivered to HNGH pre-petition, but not recorded

 prior to this Chapter 11 case (the “Deed in Lieu”). The Deed in Lieu was intended to be held in

 escrow, but HNGH instead improperly and untimely filed it in the Dallas County land records

 office.

           12.    Debtor intended to resolve these disputes pursuant to an Agreed Order [Doc. 64]

 Regarding Motion to Lift Stay [Doc. 10], Motion to Dismiss [Doc. 9], Motion for Sanctions [Doc.

 15] and Motion to Enforce Stay [Doc. 14] entered on December 10, 2021 (the “December Agreed

 Order”), which was approved and signed by the Court on December 10, 2021 and constituted a

 contractual settlement agreement. A further Agreed Order was entered on March 17, 2022, that

 extended certain deadlines in the December Agreed Order and were later amended to add

 additional terms benefitting HNGH (collectively, the “Agreed Orders”). Debtor has been required

 to pay millions of dollars to HNGH for each of these Agreed Orders and their modifications.

           13.    The Agreed Orders clearly contemplated a recission of the Deed in Lieu’s purported

 conveyance of the Property. Unfortunately, HNGH did not comply with the Agreed Orders and

 did not take the steps necessary to rescind the Deed in Lieu transaction as described herein.

           14.    The Agreed Orders provided, among other things, that:

                  a.       HNGH would, by May 30, 2022, present for recording a “Recission
                           Deed,” held in escrow by HNGH’s counsel, which would (1) cause the
                           improperly-filed Deed in Lieu to be “deemed rescinded and avoided”,
                           and (2) confirm that Debtor “shall retain all title to the Property”3;




 3
     The December Agreed order provided: “ORDERED, ADJUDGED AND DECREED that the automatic stay shall
     remain in full force and effect as to HNGH through 5:00 p.m. central time, March 15, 2022, (the "Payoff
     Deadline") by which the Debtor shall make payment to HNGH in the amount set forth on Exhibit A to this Order,
     which exhibit is filed under seal, in full and final satisfaction of the Note (the "Payoff Amount"), which note
     shall be reinstated immediately prior to the Debtor's payment to HNGH of the Payoff Amount and counsel
     for HNGH shall hold the rescission deed during the pendency of the term of this Agreed Order and shall have
     no liability to the Debtor or any other party by way of holding such deed or releasing the deed in accordance with
     the terms of this Agreed Order.”

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                 b.       HNGH would by recording of the Rescission Deed, cause the recission
                          of the Deed in Lieu transaction; and

                 c.       HGNH would reinstate the Note and security documents, which would
                          be contemporaneously released with the Payoff Event and recording of
                          the Recission Deed.

                 d.       Debtor would, by May 31, 2022, pay a final payoff to HNGH (the
                          “Payoff Event” or “Final Payoff,” the amount of which is under seal).

 Pursuant to, and in good faith reliance on, the March Agreed Order, Debtor dismissed its Adversary

 Proceeding against the HNGH Parties.

         15.     It was, conceptually, a simple transaction: HGNH would rescind the Deed in Lieu

 transaction, reinstate the Note and related documents, then then get paid the Payoff Amount, and

 cancel the Note and related loan documents. Of course, as in all commercial real estate

 transactions, these components of the transaction are accomplished by a simultaneous closing at a

 title company. In addition, the Debtor’s confirmed plan of reorganization specifically

 contemplated that the recission would be accomplished by the transfer of the Property to a new

 entity and a loan from a third-party lender (the “Lender”). Lenders who loan dozens of millions of

 dollars aren’t stupid, they require clear title to their collateral. Unfortunately, HGNH did not

 provide the appropriate documentation to provide clear and clean title to carry out the provisions

 of the Agreed Orders.

         16.     Pursuant to the original Agreed Orders, HNGH was required to place the Rescission

 Deed into escrow back on December 10, 2021. However, prior to the May 30, 2022, deadline,

 HGNH never provided an actual Rescission Deed, as required by to the Agreed Orders. Instead

 (and in pale comparison of what had been required), on Friday May 27, 2022 (the Friday preceding

 the Memorial Day holiday weekend), HNGH provided Debtor with a “Special Warranty Deed,”

 which it claimed was sufficient to constitute a rescission of the Deed in Lieu. This Special

 Warranty Deed is – by law – a conveyance and transfer of the property and not a rescission, which

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 conflicts with any purported rescission language, and which would create potential title

 ambiguities and tax issues. A special warranty deed DOES NOT accomplish a recission. A special

 warranty deed evidences that the Property was conveyed to HNGH and then, after several months,

 reconveyed to the Debtor – without proving the details of chain of title and any changes or

 encumbrances thereto. That isn’t a recission and has serious negative effects to the clarity of title

 of the Property.

         17.      HNGH also failed to deliver other customary documents and assurances necessary

 to accomplish a recission to ensure delivery of unencumbered title on May 30, 2022.

         18.      Alarmed by HNGH’s failure to timely deliver documents beyond the non-

 conforming Special Warranty Deed, on May 30, 2022, counsel for Debtor issued to counsel for

 HNGH a detailed letter, attached hereto as Exhibit A and incorporated herein as if fully set forth,

 identifying numerous items HNGH still needed to provide.4

         19.      Debtor had secured funding and was preparing to make the Final Payoff on May

 31, 2022, as required by the Agreed Orders. However, after – and because – HNGH failed on May

 30, 2022 to comply with the terms of the Agreed Orders the lenders, of course, would not loan

 without compliance by HNGH with the Agreed Orders. Debtor has secured committed funding

 and will pay off HNGH as soon as the title to the Property is clean and HNGH has provided proper

 recission documents. Exhibit A describes what should be done to clear and clean the title to the

 Property.




 4
     HNGH complains that the letter was not timely. The Debtor complains that these were customary and necessary
     documents needed to effectuate a recission. For example, who has the note, HNGH or HSP? No lender in its right
     mind would make a huge loan without a clean title, cancellation of any note and releases of liens, among other
     documents. The Debtor says that HNGH was to provide these documents. HNGH says that the Debtor didn’t ask.
     None of that matters because the fact is that HNGH has yet to produce recission documents.

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           20.     Despite having failed to comply with the Agreed Orders and present a clean title or

 recission deed by May 30, 2022, on June 3, 2022, HNGH filed this Motion, incredulously claiming

 that Debtor has defaulted on the Agreed Orders due to failure to pay. HNGH concedes in its

 Motion that the Motion itself is unnecessary. (Mot. at ¶ 6.) Nonetheless, HNGH has proceeded to

 request from this Court what amounts to a comfort order in the form of a preemptive declaratory

 judgment.5




  5
      To be granted the relief requested, Debtor must have been in default of the Agreed Orders. However, there has
      been no finding that Debtor was in default nor does HNGH’s motion request such a finding. In fact, Debtor
      strenuously disputes it was in default and has further asserted that HNGH was the one who actually breached the
      Agreed Orders as further stated herein.

      Not only is the Motion not proper and was Debtor not in default, but HNGH makes false and/or baseless
      conclusory statements of fact that lack any substantiation in support of the Motion, including:

      a.   HNGH claims that it will “reinstate its Note” in order to accept the payoff of the Note. Evidentially HNGH
           did not have such power because HSB was the holder and owner of the Note under the Collateral Transfer.
           Even more problematic is the likelihood that HNGH’s recording of the deed was in breach of the Collateral
           Transfer, done without consent of HSB, and caused the deed of trust and loan to merge with the deed
           potentially wiping out HSB’s collateral under the Collateral Transfer.

      b.   HNGH asserts numerous “Debtor failed to note” allegations that are false and/or lack any specificity or
           support or attempt to place HNGH’s burden onto the Debtor. For instance, HNGH acts as if it did not have
           contact information of the title company yet acknowledges prior communications with Sendera Title.
           Furthermore, HNGH attempts to shift blame to Debtor for not commenting on its form of a special warranty
           deed to use to rescind the deed after it purportedly sent a draft on May 12 that was required to be sent in
           December and that HNGH that should have been a simple, standard rescission agreement without any attempt
           to add HNGH’s own Deed Restriction.

      c.   HNGH asserts that the form of the rescission of deed proposed by Debtor contained “factual representations
           contradictory to express findings of fact in the Adversary Judgment” which Debtor denies and which HNGH
           fails to even identify. Moreover, HNGH claims it was “prepared to deliver, or caused Happy State Bank to
           be prepared to deliver by closing substantially all documents reasonably requested at that time” which does
           not equate to any actual confirmation or proof that the issues described above regarding HSB including who
           was the holder, owner, and endorsee of the Note were actually resolved.

      d.   HNGH claims that Debtor filed frivolous and misleading pleading which HNGH implies is supported by
           Debtor’s withdrawal of its motion. Debtor withdrew is motion for other reasons and Debtor denies that any
           motion or pleading was frivolous, misleading, or contained any deceit or mischaracterizations. However,
           Debtor has been forced to reassert many of the claims and assertions that were previously asserted and later
           withdrawn in response to this Motion.




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                                               ARGUMENT

I.       HNGH HAS FAILED TO PERFORM ITS OBLIGATIONS UNDER THE AGREED
         ORDERS AND IS NOT ENTITLED TO AN ORDER IN ITS FAVOR.

         21.       This Motion is nothing more than an end run by HGNH around its own breach.

  HNGH complains of the alleged failures of the Debtor but fails to inform this Court of the

  numerous ways in which it did not satisfy the conditions precedent to Debtor’s payment of the

  Loan, thereby breaching the Agreed Orders and frustrating Debtor’s ability to perform its own

  obligations. HNGH’s obligations are conditions precedent to the obligation of the Debtor to fund

  the recission.

         22.       Among other failures, HNGH failed to specifically perform its condition precedent

  obligations under the Agreed Orders by May 30, 2022, in the following ways:

                   a.      HNGH failed to present a proper recission deed, and instead presented
                           a Special Warranty Deed and does not accomplish a recission.

                   b.      HNGH failed to deliver customary closing documents and assurances
                           to effectuate the recission, as thoroughly set forth in Exhibit A; and

                   c.      HNGH failed to disclose the encumbrance on the Property in favor of
                           HSB, and instead made inaccurate statements claiming no such
                           encumbrance existed. The position of HSB is indeed material for
                           closing a recission.

  Any one of these failings standing alone is sufficient to deny HNGH’s Motion to Enforce the

  Agreed Orders.

         A.        HNGH failed to present a proper recission deed, and instead presented a
                   replacement Special Warranty Deed that includes encumbrances not included in
                   the original Deed

         23.       The Special Warranty Deed prepared by HNGH is not consistent with the Agreed

  Orders6. Texas real property law provides that the goal of a rescission is to avoid the contract and,




 6
     As detailed in Exhibit A

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 in this case, the Deed, from its inception, placing the parties in the position they occupied before

 the instrument was executed. Ginn v. NCI Bldg. Sys. Inc., 472 S.W.3d 802, 837 (2015); see also

 Hunt County Oil Co. v. Scott, 67 S.W. 451, 452 (Tex. Civ. App.—1902, writ ref’d). A special

 warranty deed “conveys the land itself,” but “does not, of itself, carry notice of defects in title.”

 Chesapeake Exploration, L.L.C. v. Dallas Area Parkinsonism Soc'y High Plains Div. Inc. No. 07-

 10-0397-CV, 2011 WL 3717082, at 6 (Tex. App. – Amarillo, Aug. 24, 2011). Thus, the Special

 Warranty Deed provided by HNGH evidenced a reconveyance, not a recission, and did not satisfy

 the Agreed Orders’ requirement to rescind the Deed in Lieu. Indeed, the inclusion of a deed

 restriction would not be possible under an actual recission.

         24.     More particularly, HNGH’s delivery of the Special Warranty Deed instead of a

 Rescission Deed is a clear first material breach of the Agreed Orders, and the parties’ contractual

 settlement agreements. HNGH cannot reasonably seek an enforcement of the Agreed Orders until

 it complies with the Agreed Orders.

         B.      HNGH failed to deliver customary additional closing documents and assurances
                 necessary to fully affect a proper closing pursuant to the Agreed Orders.

         25.     Fortunately, there is a solution. Exhibit A describes the additional items required

 by HNGH to be delivered to the title company as escrow agent, as customarily requested and

 required in commercial real estate transactions (the “Deliverables”), and which will effectively

 satisfy the need to establish clear title, and thus close on the Property.

         26.     In response to Exhibit A, HNGH, by and through counsel, has requested that such

 Deliverables be limited to those it self-servingly believes are necessary to close this transaction.

 HNGH is massively incorrect. The parties agreed to work together to facilitate a payoff to HNGH

 through the vehicle of a new loan from a third party to Debtor or its assignee. HGNH knew that a

 lender would require the documents necessary to effectuate a recission: detailed loan documents


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 and corporate/authority documents and necessary affidavit(s) would be needed to complete the

 recission and satisfy routine title requirements, as well as the reasonable requirements of any new

 lender, purchaser, and its investor.

         27.     HNGH’s failure to deliver any one or more of the Deliverables to the title company

 as escrow agent, as customarily requested and required in commercial loan and real estate

 transactions such as this, constitutes a breach and/or anticipatory breach of the Agreed Orders,

 which caused the desired closing to be delayed.

         C.      HNGH failed to disclose the encumbrance on the Property placed by HSB’s lien
                 on the same.

         28.     HNGH’s Proof of Claim in this case, filed March 8, 2022, states at Item 9 as

 follows: “HNGH is the owner and holder of the Note, the Deed of Trust and all related Liens and

 security interests.” No disclosure is made of HSB’s claimed lien on the loan documents and the

 resulting cloud on the title of the Property.

         29.     Debtor first became aware that HSB was involved in this deal in May 2022. At that

 time, the Debtor asked counsel for HNGH about HSB’s position in connection with the Debtor

 and was advised in writing that HSB had nothing to do with this transaction. Thus, it was a surprise

 to Debtor on May 31, 2022, to receive first a Payoff Statement from HSB, and then a directive that

 funds be directed to HSB from the closing. HNGH had not provided a similar instruction to the

 Debtor. Rather on May 31, 2022, contrary to HSB’s Payoff Statement, HNGH provided via its

 wiring instructions that all funds to be sent to it. HNGH never told Debtor that a portion of the

 funds should be sent to HSB.

         30.     The Debtor was then faced with conflicting instructions for payment of millions of

 dollars from a third-party lender. It is in no way surprising - and in no way Debtor’s fault - that,

 faced with such a dilemma, the closing could not timely continue.


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                           CONCLUSION AND PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Debtor respectfully requests, for the reasons

 stated herein, that the Court enter an Order as follows:

         a.      denying HNGH’s Motion to Enforce Agreed Orders and adopt the request of the
                 Debtor;

         b.      granting Court costs and attorneys’ fees to the Debtor; and

         c.      granting such other and further relief in law or in equity to which Debtor/Debtor
                 may show itself entitled.

                                                            Respectfully submitted,
  Dated: June 8, 2022
                                                             /s/ Joyce W. Lindauer
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                                                            State Bar No. 21555700
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                                                            joyce@joycelindauer.com
                                                            ATTORNEY FOR DEBTOR




                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on June 8, 2022, a true and correct copy of the
 foregoing document was served via email pursuant to the Court’s ECF system upon the parties
 receiving electronic notice in this case listed below.

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                                                                  /s/ Joyce W. Lindauer
                                                                 Joyce W. Lindauer



 i
     The largest payments were made after this case was filed.




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 Telephone No.                                                                        Facsimile No.
 (972) 503-4033                                                                       (972) 503-4034


                                               May 30, 2022

 Via Email
 To John Kane

 Re:    File 2201814-VVJA 2999 Turtle Creek Blvd, Dallas, TX Closing Documents

 John, please confirm the following matters to ensure that title to the Property is clear, and particularly,
 not encumbered by any of the filings by the lender parties, and as such must be delivered or caused
 to be delivered by your client, HNGH (and in some instances, possibly third parties):

 1.0    THE RECISSION OF DEED (fka SWD)

 1.1    Rescission of Deed

 1.2    In connection with the above, a standard form Bills Paid and Parties in Possession Affidavit
        of HNGH.

 2.0    THE DEED OF TRUST

 2.1    Release of the Deed of Trust, by HNGH;

        a. Deed of Trust, Security Agreement and Fixture Filing dated as of September 20, 2019, by
           MO 2999TC, LLC in favor of Michael B. Massey, as Trustee for the benefit of 2999 Turtle
           Creek LLC, recorded in the Office of the County Clerk for the County of Dallas, State of
           Texas, on September 23, 2019 as Instrument No. 201900253450 as assigned to HNGH
           Turtle Creek, LLC by 2999 Turtle Creek LLC under the Assignment of Deed of Trust and
           Assignment of Leases and Rents recorded on December 8, 2020 under instrument number
           202000341904.

 2.2    Related to the immediately above, a Release of the prior collateral assignment of the Note and
        Deed of Trust and all Loan Documents fbo of Axos, to be signed by Axos, and other
        confirmation that Axos has no legal or equitable interest in the Note and Deed of Trust or
        other Loan Documents that were collaterally assigned (including Assignment of Leases and
        Rents);




                                                                        EXHIBIT "A"
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 2.3    Release of the prior collateral assignment of the Note, Deed of Trust, and Assignment of
        Leases and Rents (3 documents) fbo of Happy State Bank, to be signed by Happy State Bank,
        and other confirmation that Happy State Bank has no legal or equitable interest in the Note
        and Deed of Trust;

 2.4    Release of Assignment of Leases and Rents dated as of September 20, 2019, by MO 2999TC,
        LUC for the benefit of 2999 Turtle Creek LLC, recorded in the Office of the County Clerk for
        the County of Dallas, State of Texas, on September 23, 2019 as Instrument No. 201900253451
        as assigned to HNGH Turtle Creek, LLC by 2999 Turtle Creek LLC under the Assignment of
        Deed of Trust and Assignment of Leases and Rents recorded on December 8, 2020 under
        instrument number 202000341904.

 2.5    Release of prepaid interest agreement to Madison (and release by HNGH if it was assigned).

 3.0           UCC FILING(S)

 3.1    Release of the UCC, by HNGH (county and state)

 3.2    Related to the immediately above, a Release of the prior assignment of the UCC fbo of Axos,
        to be signed by Axos, and other confirmation that Axos has no legal or equitable interest in
        the UCC filing;

 3.3    Termination of Loan participation agreement, executed by each of the parties thereto, and or
        other confirmation that the Loan participation agreement has been terminated, and is no longer
        of any force or effect

 3.4    Release of whatever agreement Axos signed to permit the participation agreement (See
        excerpt from an email during negotiations between Madison and HNGH at the end)

 3.5    Release of the prior collateral assignment of the UCC fbo of Happy State Bank, to be signed
        by Happy State Bank, and other confirmation that Happy State Bank has no legal or equitable
        interest in the UCC filing;

 4.0    NOTE

 4.1    The original Note, marked paid in full; delivered to title company to make sure original is
        provided. .

 5.0    AUTHORITY OF LENDER ENTITIES

 5.1    In connection with the above, Secretary or other Officer Certificate of HNGH, including
        copies of the governing documents of HNGH, and including consent resolutions of the
        director and or managers, and the consent of the shareholders and or members, to the execution
        and delivery of each of the above referenced closing documents,




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 5.2    Ratification of all prior acts and Consent of HN Green Hollow Capital Partners executed by
        Jim Glasgow who is the manager – he is the one that executed the participation agreement, so
        anything related to that agreement needs to especially come from him in addition to HN
        Capital Partners, LLC.

 5.3    In connection with the above, Secretary or other Officer Certificate of Axos, including copies
        of the governing documents of Axos, and including consent resolutions of the director and or
        managers, and the consent of the shareholders and or members, to the execution and delivery
        of the Axos documents;

 5.4    In connection with the above, Secretary or other Officer Certificate of Happy State Bank,
        including copies of the governing documents of Happy State Bank, and including consent
        resolutions of the director and or managers, and the consent of the shareholders and or
        members, to the execution and delivery of each of the above referenced closing documents
        executed by HSB; together with confirmation, together with confirmation that Happy State
        Bank (a) is and remains the holder of the collateral assignment from HNGH and that Happy
        State Bank has not further sold or encumbered the collateral itself, which they apparently had
        the right to do under the Collateral Assignment), and (b) authorized and consented to and or
        ratified HNGH’s execution and delivery of the Order, as well as the Rescission of Deed.

 5.5    Everything executed by HNGH should be executed by HN Green Hollow as the sole member
        or otherwise consented to by sole member and not just executed by Vipin

 5.6    Need assurance Madison assigned the guaranties to HNGH as they asserted.

 5.7    Also, HNGH was intervenor in the guaranty case so Madison is still a party - both will have
        to dismiss w prejudice.

 5.8    Check if Madison assigned all the loan docs to HNGH not just the recorded documents.

 5.9    Look at the collateral assignment to HSB to be sure HNGH even had the authority to do what
        they did including agreeing to the BK order.

 6.0    LITIGATION AND MATTERS

 6.1    Dismissal of the Guaranty litigation, with prejudice provided to the Guarantor

 7.0    GENERALLY

 7.1    Sequencing Agreement, and or Joint Closing Instructions, respecting the effect and timing
        each of the above instruments, to be signed by HNGH, Debtor (Seller), and purchaser, either
        directly or by and through counsel.

 7.2    If any potential lenders/investors on our side are exposed or names are released, John Kane to
        sign agreement that neither he nor HNGH have communicated with them.


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 John, please specifically confirm which of the above items have already been delivered to the Title
 Company (and provide me with copies of such please for review), and when the balance of the items
 will be delivered, in advance of the closing.


 Thank you.

 Joyce Lindauer

 Cc: Client




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